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                   EXHIBIT I
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                                     Kimon Andreou
                                   December 03, 2019                            ·

     ·1· · · · · · · · UNITED STATES DISTRICT COURT

     ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

     ·3· · · · · · · · ·CASE NO. 9:18-cv-80176-BB/BR

     ·4
     · ·   ·IRA KLEIMAN, as the personal representative
     ·5·   ·of the Estate of David Kleiman, and
     · ·   ·W&K Info Defense Research, LLC,
     ·6
     · ·   · · · · · ·Plaintiffs,
     ·7
     · ·   ·-vs-
     ·8
     · ·   ·CRAIG WRIGHT,
     ·9
     · ·   · · · · · ·Defendant.
     10

     11· ·* * * * * * * * * * * * * * * * * * *

     12· ·DEPOSITION OF KIMON ANDREOU

     13· ·DATE TAKEN: December 3, 2019

     14· ·TIME: 1:40 p.m. - 3:25 p.m.

     15· ·PLACE: 3340 Hollywood Boulevard

     16· ·Hollywood, Florida 33321

     17
     · · ·TAKEN BEFORE: RICK E. LEVY, RPR, FPR
     18· · · · · · · · ·AND NOTARY PUBLIC

     19

     20· ·* * * * * * * * * * * * * * * * * * *

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     ·1· ·file system on the server and it was just a management
     ·2· ·of that.
     ·3· · · · · · ·That was the main -- the flagship product.
     ·4· ·That was built primarily by a number of developers that
     ·5· ·were working on the back end.· My side was on the QA
     ·6· ·side to do security testing on it, make sure that it
     ·7· ·works, that it can't be hacked and also -- this is the
     ·8· ·part that I worked with Dave on very closely was to
     ·9· ·build a process to secure servers because his strength
     10· ·was on the server security so we built a software to do
     11· ·that called Security doc or S-doc.· I did the interface
     12· ·and automated everything.
     13· · · · · · ·Dave had all the logic and which settings to
     14· ·adjust and what to do so I took that and I put in a
     15· ·program so it does it automatically with one click do it
     16· ·all.
     17· · · · Q.· ·Was Dave like a computer programmer?
     18· · · · A.· ·No.· He was familiar with it.· He could dabble
     19· ·but not a programmer.
     20· · · · Q.· ·When you say dabble what do you mean?
     21· · · · A.· ·Like he could write a simple script but not
     22· ·real programming.· That's when he would come to me.
     23· · · · Q.· ·What's a script?
     24· · · · A.· ·A script is more like a series of moderately
     25· ·simple commands that -- how should I put this, doesn't


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     ·1· ·have much logic in there.· It's a way to -- if you were
     ·2· ·on the computer and start typing up all the things you
     ·3· ·would do.· Like a macro in Excel.· Create a macro it
     ·4· ·creates something a background that's more or less what
     ·5· ·a script is, best way I can describe it, versus a
     ·6· ·program where there has a lot more complex programming.
     ·7· ·You have to be more aware of your hardware, of the
     ·8· ·interactions with users, with the more variables so it's
     ·9· ·a lot more complex.
     10· · · · Q.· ·So you started working with Dave in 2002 but
     11· ·could you tell us when did your friendship really start
     12· ·to -- do you know the year you developed the friendship?
     13· · · · A.· ·I can't pinpoint that.· It just happened.
     14· · · · Q.· ·Around 2002 though?
     15· · · · A.· ·Well, I started late in 2002 so I would say
     16· ·more like 2003 or so.
     17· · · · Q.· ·Did you and Dave have any hobbies that you
     18· ·shared?
     19· · · · A.· ·Mostly going to gun shows.· We would go to the
     20· ·Palm Beach Gun Show every month.· So what we would do is
     21· ·go to the Palm Beach Gun Show.· After that we would go
     22· ·somewhere to eat so that was our routine.· We would go
     23· ·out to dinner or go to the range together.
     24· · · · · · ·So that was really the extent of our social
     25· ·interaction but it was frequent enough.· I guess what


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     ·1· ·guy friends do.
     ·2· · · · Q.· ·Do you know when Dave Kleiman was admitted
     ·3· ·into the hospital?
     ·4· · · · · · ·MR. BRENNER:· Object to the form.
     ·5· ·BY MR. PASCHAL:
     ·6· · · · Q.· ·Was Dave Kleiman ever admitted into a
     ·7· ·hospital?
     ·8· · · · A.· ·Yes.· Several times.· He would go to the V.A.
     ·9· ·when he had issues and sometimes he would stay there for
     10· ·a couple days.· The one time that he had -- usually it
     11· ·was more -- about a couple days.· Either there was an
     12· ·infection or something and he would go to the V.A.
     13· ·either the one -- well, mostly the one in Miami.
     14· · · · · · ·The one in Palm Beach opened up he would go
     15· ·there.· It was right by his house but it was very short
     16· ·maybe a weekend or two or three days.· Nothing special.
     17· ·But when he had a major infection is when he was
     18· ·admitted into the V.A. in Miami and that was where he
     19· ·never really checked out.· That was it.
     20· · · · Q.· ·Do you know what year that was when he was
     21· ·admitted to the Miami V.A?
     22· · · · A.· ·I would have to say probably in 2011 because
     23· ·the reason why I say that my daughter was born December
     24· ·of 2012 and he had already been there for it felt like a
     25· ·year so I'm guessing it was sometime in 2011.· I don't


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     ·1· ·every day.
     ·2· · · · Q.· ·Where do you work?
     ·3· · · · A.· ·I work for Royal Caribbean.
     ·4· · · · Q.· ·Where is the Miami V.A?
     ·5· · · · A.· ·It is in Downtown Miami just right off of 836
     ·6· ·essentially on the west side of I-95.· I don't remember
     ·7· ·the address.· I would just drive there.
     ·8· · · · Q.· ·When you visited him was there like a
     ·9· ·procedure to go into the hospital?
     10· · · · A.· ·I would just go through security.· I knew
     11· ·where he was.· The first time I had to figure out the
     12· ·actual wing he was in but there wasn't really any
     13· ·procedure unless security -- security is pretty lax
     14· ·there.· I would just walk in.· Nobody checked me.              I
     15· ·guess I got asked for I.D. twice by security but no real
     16· ·procedure.
     17· · · · Q.· ·Was there a visitor log?
     18· · · · A.· ·Not that I'm aware of.· The nurses after a
     19· ·while they knew who I was so they would just say he was
     20· ·in the bathroom.· He is not there.· He's somewhere else.
     21· · · · Q.· ·When you say he was in a wing do you remember
     22· ·what wing he was in?
     23· · · · A.· ·It was the spinal injury.
     24· · · · Q.· ·Was he in a room?
     25· · · · A.· ·He was in a room, yes.


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     ·1· · · · A.· ·Yes.· He liked to collect certifications.· He
     ·2· ·told me that even though he knew his stuff one time he
     ·3· ·was asked to be an expert witness in a court case and he
     ·4· ·didn't like it when he was questioned -- when he was
     ·5· ·told that why should I trust you you don't have any sort
     ·6· ·of certifications.· Opposing expert's witness has all
     ·7· ·these.· Pissed him off so he made it a life goal to get
     ·8· ·every single certification under the sun.· He wanted to
     ·9· ·be able to spell Mississippi twice.
     10· · · · Q.· ·Did people ever refer to him as Dave
     11· ·Mississippi?
     12· · · · A.· ·Yes, Dave Mississippi Kleiman.
     13· · · · Q.· ·Under here under experience first bullet point
     14· ·developed a Windows Operating System Tool S-Lok?
     15· · · · A.· ·That was the one, yes.· He was the brains of
     16· ·it.· I took it and I packaged it to -- because he had it
     17· ·as notes.· Maybe a couple of scripts I had to edit by
     18· ·hand every single time or he would have to figure out
     19· ·what sort of server he was on and then adjust all these
     20· ·flags and all this stuff.
     21· · · · · · ·So I codified all of that logic, everything
     22· ·that was in Dave's head I codified it into an
     23· ·application to do this so that you just start it, hit
     24· ·lock it down and it would do it for you.· You don't have
     25· ·to -- anybody could do that.


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     ·1· ·having much luck."· Is that figuring out the pass phrase
     ·2· ·you're referring to?
     ·3· · · · A.· ·No.· So I had worked -- after S-doc Dave his
     ·4· ·only source of income was the forensic work as far as I
     ·5· ·know at least.· So he needed help many times on creating
     ·6· ·a simple program or doing something for one of his books
     ·7· ·he wanted a program back then when there were CDs as
     ·8· ·inserts on to books that would help automate some of his
     ·9· ·work.
     10· · · · · · ·He would reach out to me and I would code it
     11· ·for him.· Pat knew about that so that's when he reached
     12· ·out to me to help him with a case he had ironically
     13· ·about Bitcoin.
     14· · · · · · ·If I remember correctly about this case it was
     15· ·a case that out of Miami where somebody I forget the
     16· ·name had set up a Bitcoin exchange in Miami and people
     17· ·had put in their Bitcoin and the guy ran away with the
     18· ·money and fled to China.
     19· · · · · · ·So Pat or his company was contracted to try to
     20· ·recover as much of it as possible.· Some of the data was
     21· ·in the database.· Since Pat knew I had helped Dave in
     22· ·the past and knew that my strong point really is in
     23· ·databases and that's what I currently do also work with
     24· ·data that's why he reached out to me since he is not
     25· ·familiar with databases.· So that's the background for


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